           Case 19-08110       Doc 74 Filed 04/06/23 Entered 04/06/23 14:07:50                   Desc AP
                                 Telephonic Hrg Call In - P Page 1 of 1
Form hrgtapp

                                   UNITED STATES BANKRUPTCY COURT


                                              Central District of Illinois
                                                216 Federal Building
                                                100 N.E. Monroe St.
                                               Peoria, IL 61602−1003


In Re: I80 Equipment, LLC                                   Case No.: 17−81749
Debtor(s)                                                   Chapter 7


Jeana K. Reinbold
Plaintiff(s)

      v.

Menard, Inc.
Defendant(s)                                                Adv. No. 19−08110


PLEASE TAKE NOTICE that a Telephonic Hearing will be held

       on 6/6/23 at 01:30 PM


Parties participating in this hearing are directed to call 1−877−336−1831 five minutes prior to the hearing
time. Use Access Code 1082031.

Multiple hearings may be set at the same time. Please remain on the line until your hearing(s) are concluded
and you are dismissed from the call. Participants are encouraged to review the court's telephone conference
instructions prior to the scheduled hearing −
www.ilcb.uscourts.gov/chief−judge−hendersons−telephone−conferencehearing−protocol.

to consider and act upon the following:

Continued Pre−Trial Conference
Dated: 4/6/23


                                                             /S/ Adrienne D. Atkins
                                                            Clerk, U.S. Bankruptcy Court



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